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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

   DALLAS MCINTOSH,

                  Plaintiff,

          v.                                             Case No. 3:17-cv-00103-JPG-DGW

   WEXFORD HEALTH SOURCES, INC., et
   al.,

                  Defendants.

                                 MEMORANDUM AND ORDER

  J. PHIL GILBERT, DISTRICT JUDGE

         Plaintiff Dallas McIntosh claims that the defendants violated his Eighth Amendment rights

  by failing to protect him from a suicide attempt, getting him addicted to prescription-strength

  painkillers, and—in the case of Wexford Health Sources—having a policy of providing inadequate

  suicide prevention training, among other policies. All of the defendants moved for summary

  judgment on the grounds that McIntosh failed to exhaust his administrative remedies before filing

  suit. (ECF No. 61, 69.) Magistrate Judge Donald G. Wilkerson has now issued a Report &

  Recommendation that advises this Court to deny those motions. (ECF No. 127.) The Court

  respectfully disagrees, REJECTS the Report & Recommendation, and GRANTS the defendants’

  motions for summary judgment.

         McIntosh alleges that while he was a patient in the infirmary at the St. Clair County Jail

  from February through August 2013, defendant Nancy Keen—a nurse at the jail—gave McIntosh

  a number of pills under the table: painkillers, opioids, sleeping pills, and medication for anxiety

  and depression. (Compl. p. 8, ECF No. 1.) McIntosh says that Keen gave him large bundles of

  pills at a time so that they would last between her shifts, and that he eventually became addicted

  to the medications after remaining in a perpetual drug-induced state. (Id.) But on August 4, 2013,
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  following a shakedown at the infirmary, investigators discovered 55 prescription pills in

  McIntosh’s possession—and another nurse at the jail, defendant Barbara Rodriguez, confirmed

  that they did not prescribe McIntosh any of them. (Id. at 9–10.) So the jail banished McIntosh to

  punitive segregation that same day—but they allowed McIntosh to take his mattress from the

  infirmary with him, which contained even more hidden pills. (Id. at 11.)

         Once McIntosh got to segregation, he says that he became depressed, took more of the pills

  that were hidden in his mattress, and tried to hang himself using a bedsheet as a rope. (Id. at 11)

  The suicide attempt failed when the sheet came loose, causing McIntosh to fall, hit his head on the

  floor, and lose consciousness for several hours. McIntosh alleges that the pills were responsible

  for his suicide attempt because he had never taken any steps towards suicide before he became

  addicted to them. (Id. at 12.) So he sued the defendants in this Court: the two nurses for being

  deliberately indifferent to his medical needs and Wexford for maintaining an unconstitutional

  policy or practice of failing to provide inadequate suicide prevention and prescription training to

  employees—all in violation of the Eighth Amendment’s Cruel and Unusual Punishment Clause.

         But before the merits of McIntosh’s claims come into play, the Court must determine

  whether he exhausted his administrative remedies before filing suit: a well-established requirement

  of the Prison Litigation Reform Act, 42 U.S.C. § 1997e(a). Woodford v. Ngo, 548 U.S. 81, 84

  (2006). In order to comply, McIntosh must have “file[d] complaints and appeals in the place, and

  at the time, the prison’s administrative rules require.” Pozo v. McCaughtry, 286 F.3d 1022, 1025

  (7th Cir. 2002). And it is the defendants’ burden here to prove that McIntosh did not do so. Jones

  v. Bock, 549 U.S. 199, 216 (2007).

         Here, the St. Clair County Jail requires inmates to submit a “Captain’s Request”—a written

  document that details the inmate’s complaints—to the relevant shift supervisor within 24 hours of



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  the incident in-question in order to start the administrative remedies process. (ECF No. 62-1, p. 9.)

  McIntosh says that he gave his Captain’s Request—which identified a nurse as the supplier of the

  pills—to the shift supervisor on August 4th, 2013: immediately after the jail transferred him to

  punitive segregation and shortly before his suicide attempt. (ECF No. 1, p. 9, ECF No. 88, p. 3,

  ECF No. 91.) But McIntosh says he was unable to continue on with the next step in the grievance

  process—the formal grievance—because he never received a response to his Captain’s Request.

  (ECF No. 88, p. 6.) Specifically, McIntosh claims that on August 6th, 2013, Sergeant Steve

  Strubberg escorted McIntosh to Stubberg’s office at the jail; told him that he was under criminal

  investigation because of the pills; handed McIntosh’s Captain’s Request back to him; and told

  McIntosh that he would need to wait for the investigation to end before he could start the grievance

  process. (Id. at 8.) The defendants tell a different story: they say that McIntosh never submitted a

  Captain’s Request at all—implying that the one McIntosh provided in this case is forged. And

  Strubberg testified that (1) he never saw this so-called Captain’s Request, and (2) he never told

  McIntosh that he could not start the grievance process until the investigation was over. (ECF No.

  133 at 16–26.)

         Pursuant to the Seventh Circuit’s instructions in Pavey v. Conley, 544 F.3d 739 (7th Cir.

  2008), Magistrate Judge Wilkerson held an evidentiary hearing to determine whether McIntosh

  exhausted his administrative remedies. He now recommends that this Court deny the defendants’

  motions for summary judgment for three reasons: (1) McIntosh’s claims are bolstered by affidavits

  from other prisoners, which state that they overheard Strubberg make the alleged statements to

  McIntosh (ECF Nos. 25, 26); (2) McIntosh has entered into the record the supposed Captain’s

  Request that Strubberg gave back to him, and the “lack of signatures by administrators supports

  McIntosh’s claim the Captains Request was returned to him as premature”; and (3) the reasonable



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  inference “more favorable to McIntosh is the possibility that the jail simply returned the grievance

  to him without bothering to respond to it.” (ECF No. 127, p. 8.) Two of the defendants have

  objected to the Report, so this Court has conducted a de novo review of the issues. FED. R. CIV. P.

  72(b)(3); Johnson v. Zema Sys. Corp., 170 F.3d 734, 739 (7th Cir. 1999). And, as always with

  motions for summary judgment, the Court must construe the evidence in the light most favorable

  to the nonmoving party—here, McIntosh—and draw all reasonable inferences in his favor. See

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986); Chelios v. Heavener, 520 F.3d 678,

  685 (7th Cir. 2008).

         The defendants have carried their burden here, and neither McIntosh nor the Report make

  any compelling arguments to the contrary. First, these affidavits from other prisoners—which the

  Report relied on—are textbook examples of impermissible hearsay. “Hearsay is a statement, other

  than one made by the declarant while testifying at trial, offered in evidence to prove the truth of

  the matter asserted.” United States v. Breland, 356 F.3d 787, 792 (7th Cir. 2004) (quoting United

  States v. Linwood, 142 F.3d 418, 424–25 (7th Cir.1998)); FED. R. EVID. 801(c). In both affidavits,

  the prisoners swear that they overheard Strubberg tell McIntosh in December 2014 that McIntosh

  may not start the grievance process until the investigation is over. But McIntosh offered these

  affidavits for the truth of the matter they assert: what Sergeant Strubberg allegedly told McIntosh.

  A “ party may not rely on inadmissible hearsay to avoid summary judgment,” MMG Fin. Corp. v.

  Midwest Amusements Park, LLC, 630 F.3d 651, 656 (7th Cir. 2011), so the Court must disregard

  the affidavits entirely. And even if the affidavits are not hearsay, they are not credible anyways:

  they both state that Strubberg made his statement in December 2014, even though the evidence

  indicates that the investigation closed in October 2014. (ECF No. 133, p. 12.)




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         Second, although the Court must view the evidence here in the light most favorable to

  McIntosh, that does not mean that it must automatically take McIntosh’s allegations as true—

  which the Report has done. McIntosh entered the alleged Captain’s Request into the record (ECF

  No. 91), but the evidence in this case—including that from the evidentiary hearing, the transcripts

  from which this Court has reviewed (ECF No. 133)—supports the defendants’ allegations that

  McIntosh forged the Captain’s Request at a later date. For example, the Captain’s Request

  repeatedly states that a nurse was the source of the pills, and McIntosh allegedly gave the request

  to jail administrators in August 2013—but the jail did not conclude the investigation into the pills

  until October 2014. As the defendants point out, the investigation into the source of McIntosh’s

  pills would not have taken 14 months if McIntosh actually turned in his Captain’s Request when

  he said he did. (ECF No. 128, p. 7.) Moreover, as the defendants point out in their objection, the

  Captain’s Request is an eloquently-written request for monetary damages, but “[i]t does not follow

  reason that an individual suffering from [the severe mental impairments alleged in the complaint,

  including being in a mental haze from overdosing on pills] would be able to formulate and submit

  a lengthy [grievance] form requesting monetary damages.” (Id. at p. 3.) The Court agrees with the

  defendants that either McIntosh did not write the grievance at the time he alleges or he was not as

  mentally impaired as he alleges—both of which hurt McIntosh’s credibility here dramatically. And

  finally, the Court rejects the Report’s argument that the “lack of signatures by administrators

  supports McIntosh’s claim the Captains Request was returned to him as premature.” The lack of

  signatures only shows that both sides of the story here are plausible—but that does not mean that

  you immediately take the plaintiff’s side as true.

         Third, even though Strubberg testified at the Pavey hearing, the Report is devoid of any

  analysis of whether Strubberg and his story are credible. After a de novo review of the transcript



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  and the record in this case, however, it is plainly apparent that Strubberg and his story are much

  more credible than McIntosh and his. Strubberg presented a coherent timeline and recollection of

  the events in question, denied ever seeing the Captain’s Request—which identifies a nurse as the

  source of the contraband—and denied ever telling McIntosh that he must wait until the

  investigation was over until he could submit a Captain’s Request. (ECF No. 133 at 16–26.)

  McIntosh’s position, however, is riddled with inconsistencies—particularly for the reasons stated

  in the paragraph above.

         So for the foregoing reasons, the Court finds that the defendants have carried their burden

  in proving that Dallas McIntosh did not exhaust his administrative remedies before filing suit—

  specifically because McIntosh never submitted a timely Captain’s Request to the St. Clair County

  Jail. The Court accordingly REJECTS the Report (ECF No. 127), GRANTS the defendants’

  motions for summary judgment (ECF Nos. 61, 69), FINDS AS MOOT any other pending

  motions, DISMISSES this case WITHOUT PREJUDICE for McIntosh’s failure to exhaust, and

  DIRECTS the Clerk of Court to enter judgment accordingly.

  IT IS SO ORDERED.

  DATED: NOVEMBER 14, 2018

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE




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